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U.S. Citizenship and biimisration Services
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RECEIPT NUMBER CASETYPE T526 [MMIGRANT PETITION BY ALIEN
WAC-15-903-46863
ENTREPRENEUR

RECEIPT DATE PRIORITY DATE APPLICANT

May 20, 2015 May 19, 2015

may abe aed DE OLIVELIRA VASQUES, ROBERTO
NOTICE GATE PAGE

August 22, 2016 2. of 1

ROBERTO DE GLIVETRA VYASQUES Notice Typa: Approval Notice

c/O MJ LIBERATORE ESQ Section: Investor ~ Target employment area,

1000 BRICKELL AVENUE BPT 400

203 (a) (5) (Cc) (id) INA
MIAME FL 33131

 

 

 
    
    
   
  
   
    

The above ogtition has been approved.

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The approval of this visa petition does not in its
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The Small Susiness Raqulator
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small business with a comment or complat
ar phone 202-205-2417 of fax 202-491-571

 

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sists small businesses with issues related to federal regulations. If you are a
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NOTICES: Although this application/petition has been aporoved, USCTS and the U.S. Department of Homeland Security reserve
the right to verify the informacion submirted in this apolicarion, patition and/or supporting documentation to ensure
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procesding is initiated.

 

 

Please see the additional information on the back. You will be notified separately about any other cases you filed.
uscIs

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Customer Service Telephone: (800) 375-5283

 

 

 

Form L797 (Rey. OL/8 05) SN
